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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ASHLEY OSUCHA,

                 Plaintiff,
          v.                              Civil No. 1:17-CV-01026-LJV-HBS

ALDEN STATE BANK,
RICHARD KOELBL,
JOHN KOELBL

                 Defendants.




  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANTS’ COMPLIANCE WITH THIS COURT’S ORDER DATED
   DECEMBER 12, 2019 (DKT. 42) AND FOR AN AWARD OF FEES PURSUANT TO
                               RULE 37(b)(2)(C)




DATED:    February 26, 2020
          Buffalo, New York



                                             Josephine A. Greco, Esq.
                                             Earl K. Cantwell, III, Esq.
                                             Greco Trapp, PLLC
                                             Attorneys for Plaintiff
                                             1700 Rand Building
                                             14 Lafayette Square
                                             Buffalo, New York 14203
                                             Tel: (716) 856-5800
                                             E-mail: jgreco@grecolawyers.com
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                                         BACKGROUND

       Plaintiff, Ashley Osucha (hereinafter “Plaintiff”), brings this action against Defendants,

Alden State Bank, Richard Koelbl, and John Koelbl (collectively “Defendants”), alleging

violations of Title VII and the New York State Human Rights Law. On June 11, 2019, Plaintiff

filed a Motion to Compel (Dkt. 29), which sought the Court’s intervention relative to Defendants’

failure to respond fully to Plaintiff’s First Request for Production of Documents to Defendants and

Plaintiff’s First Set of Interrogatories Directed to Defendants. The Declaration of Josephine A.

Greco, Esq., dated June 11, 2019 (Dkt. 29-1), submitted in support of Plaintiff’s Motion to Compel,

discussed at length the factual and legal bases entitling Plaintiff to production of broad categories

of documents that Defendants have failed to produce. For the Court’s convenience, the Declaration

of Josephine A. Greco, Esq., dated June 11, 2019, is attached as Exhibit A (all Exhibit references

are to Exhibits attached to the Declaration of Josephine A. Greco, Esq., dated February 26, 2020).

On December 12, 2019, the Court issued an Order granting in part and denying in part Plaintiff’s

Motion to Compel (Dkt. 42).

       Following the Court’s Order, Defendants served on Plaintiff their Second Amendment to

Defendants’ Responses to Plaintiff’s First Request for Production of Documents and Defendants’

Amended Responses to Plaintiff’s First Set of Interrogatories, both dated January 10, 2020. See

Exhibits B & C, respectively. As more fully discussed below, Defendants’ Second Amendment

to Defendants’ Responses to Plaintiff’s First Request for Production of Documents and

Defendants’ Amended Responses to Plaintiff’s First Set of Interrogatories are not in compliance

with the Court’s December 12, 2019 Order.




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       Following the Court’s Order, Defendants produced only the following additional

documents:

 Portions of documents that had been held by Hodgson Russ, LLP, O003682-O003691
 relative to Ashley Osucha (10 pages total)

 Personnel File of Jamie Hey                                              O003692-O003982

 Personnel File of Kaitlyn Chadbourne                                     O003983-O004120

 Personnel File of Julie Osucha                                           O004121-O004333

 Portions of documents that had been held by Hodgson Russ, LLP, O004334-O004650
 relative to Carolyn Sure Aldinger


       After reviewing this document production, it was determined that Defendants had not

produced documents subject to the Court’s Order on Plaintiff’s Motion to Compel. On January

27, 2020, Plaintiff wrote to Defendants in good faith and advised that Defendants had failed to

produce documents compelled under the Court’s December 12, 2019 Order. See Exhibit D.

Thereafter, on January 30, 2020, Defendants produced W2s for Alden State Bank’s employees,

2000-2019 (O004651-O005406). Then, in a letter dated February 12, 2020, Defendants responded

to Plaintiff’s January 27, 2020 good faith letter and took the position, without producing any

additional documents, that Defendants are in compliance with the Court’s Order. See Exhibit E

For the reasons discussed below, Defendants are not in compliance with the Court’s Order, and

Plaintiff respectfully requests that the Court grant Plaintiff’s Motion to Compel Defendants’

compliance with that Order and grant Plaintiff an award of fees relative bringing this motion,

pursuant to Rule 37(b)(2)(C).




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                                          ARGUMENT

       1.      Defendants continue to fail to produce documents related to their investigation into
               allegations of sexual harassment made against Richard Koelbl and John Koelbl.

       The Court’s December 12, 2019 Order (Dkt. 42 at 14-15) discussed in detail Defendants’

obligation to produce to Plaintiff all documents related to the investigation into allegations of

sexual harassment by Alden State Bank employees—including Plaintiff—made against Richard

Koelbl and John Koelbl, including those documents created by and/or in the possession of

Hodgson Russ, LLP.        The Court ordered Defendants to produce all investigation-related

documents, stating “[t]hose files are to be produced.” Dkt. 42 at 14 (emphasis omitted). In

Defendants’ own words, the Court’s holding was that “Plaintiff is correct that Judge Scott ordered

that defendants must produce all documents related to defendants’ investigation into complaints

of sexual harassment made by bank employees.” Exhibit E.

       Additionally, the Court held that Defendants had waived privileges relative to

investigation-related documents and that it did not accept statements contained in the Affidavit of

Hilde Neubauer, sworn to on May 31, 2019 (Dkt. 29-11) (hereinafter “Neubauer Affidavit”)

relative to these documents.      Specifically, the Court held that Defendants, in asserting the

Ellerth/Faragher defense, waived claims of attorney-client and work product privileges. See Dkt.

42 at 14. The Court also rejected the Neubauer Affidavit where it represented that Defendants had

no further investigation-related documents. See Dkt. 42 at 15. In fact, the Court went so far as to

issue this warning to Defendants: “Defendants are advised that [if] no ‘additional’ or ‘new’

materials are found that were not produced they run the risk of preclusion or other sanction for not

turning them over earlier.” Id.

       Despite the Court’s Order and this warning, Defendants have produced only ten pages

relative to Alden State Bank’s investigation into employees’ complaints of sexual harassment

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made against Richard Koelbl and John Koelbl. See Exhibit F. Moreover, the ten pages produced

by Defendants do not contain any of the documents specifically identified by Plaintiff as created

in her presence during Defendants’ investigation or any of the documents identified by another

Alden State Bank employee, Carolyn Sue Aldinger, as either created by her or in her presence in

the context of Defendants’ investigation. Specifically, evidence submitted on Plaintiff’s Motion

to Compel demonstrates that the following documents, at least at some point, existed:

       Carolyn Sue Aldinger’s typed summaries of interviews with Plaintiff and Kaitlyn
        Chadbourne, created on or about August 13, 2015, which Carolyn Sue Aldinger gave to
        Hilde Neubauer, Esq., Vice President/Compliance Officer/General Counsel. See Osucha
        Aff. ¶ 5 (Dkt. 29-14); Aldinger Aff. ¶ 7 (Dkt. 29-12);

       Handwritten notes taken by Emina Poricanin, Esq., a Hodgson Russ, LLP, attorney during
        an August 20, 2015 interview of Carolyn Sue Aldinger. See Aldinger Aff. ¶¶ 8-9 (Dkt. 29-
        12).

       Handwritten notes taken by Emina Poricanin, Esq., a Hodgson Russ, LLP, attorney during
        an August 21, 2015 interview of Plaintiff. See Osucha Aff. ¶¶ 13-14 (Dkt. 29-14).

       Carolyn Sue Aldinger’s memorandum concerning August 28, 2015 interviews of Jamie
        Hey and Julie Osucha, which Carolyn Sue Aldinger gave to Hilde Neubauer, Esq., Vice
        President/Compliance Officer/General Counsel. See Aldinger Aff. ¶ 12 (Dkt. 29-12).

       A September 3, 2015 complaint of Jamie Hey prepared by Carolyn Sue Aldinger, which
        Carolyn Sue Aldinger gave to Hilde Neubauer, Esq., Vice President/Compliance
        Officer/General Counsel. See Aldinger Aff. ¶ 13 (Dkt. 29-12).

       A September 11, 2015 memorandum concerning the complaint of Jamie Hey prepared by
        Carolyn Sue Aldinger, which Carolyn Sue Aldinger gave to Hilde Neubauer, Esq., Vice
        President/Compliance Officer/General Counsel. See Aldinger Aff. ¶ 14 (Dkt. 29-12).

        Defendants, however, have not produced a single one of the above-referenced documents,

some which constitute Plaintiff’s own statements. In fact, Defendants have not produced any

document related to the facts of Defendants’ investigation. Evidence submitted on Plaintiff’s

Motion to Compel as well as documents produced by Defendants confirm that Defendants’

investigation included at least one interview of each of the following witnesses: Kaitlyn

Chadbourne, Jamie Hey, Julie Osucha, Carolyn Sue Aldinger, Richard Koelbl, John Koelbl,
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Colleen Pautler, Judith Wiltberger, Robin Maier, Laurie Bradley, and Plaintiff. See Aldinger Aff.

¶ 7 (Dkt. 29-12); Osucha Aff. ¶ 5 (Dkt. 29-14); Exhibit F. With respect to these interviews and

Defendants’ investigation, Defendants have produced no interview notes, factual summaries,

memoranda, or conclusions. In comparison, with respect to an investigation in 2014 against

Carolyn Sue Aldinger, a witness favorable to Plaintiff, in which Hodgson Russ, LLP, was also

involved, Defendants have produced exactly these types/categories of documents. See Exhibit G

(handwritten notes/interview notes (O004345-O004366); interview summaries and conclusions

(O004367-O004370)). It is not possible that such documents would not have been produced

relative to an investigation involving significant allegations of sexual harassment made against

Richard Koelbl and John Koelbl, the two highest-ranking Alden State Bank executives.

       As noted above, the documents Defendants did produce—only four documents totalling 10

pages—contain no reference to any facts relative to Defendants’ investigation into complaints of

sexual harassment made against Richard Koelbl and John Koelbl. These documents are attached

as Exhibit F and are the following:

   Questions for Dick/Questions for Jack (Exhibit F at O003688). This document only lists
    questions for interviews of Richard Koelbl and John Koelbl. Defendants produced no notes,
    summaries, or conclusions relative to these interviews. Moreover, Defendants have not
    produced any similar interview question lists relative to Kaitlyn Chadbourne, Jamie Hey, Julie
    Osucha, Carolyn Sue Aldinger, Colleen Pautler, Judith Wiltberger, Robin Maier, Laurie
    Bradley, or Plaintiff, each who were interviewed at least once during Defendants’
    investigation, and Defendants have produced no notes, summaries, or conclusions relative to
    these interviews.

   Alden State Bank – Meeting Agenda, August 25, 2015 (Exhibit F at O003686-O003687).
    This document confirms that Defendants conducted interviews on August 20 and 25, 2015;
    however, as noted above, Defendants have produced no documents relative to these interviews.
    Additionally, this documents indicates that there were “[f]indings of the investigation”;
    Defendants have produced no such findings.

   Memorandum from Elizabeth Carolson, Esq., dated September 1, 2015 (Exhibit F at
    O003682-O003685). This document contains no facts concerning Defendants’ investigation.


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   Memorandum from Emina Poricanin, Esq., dated September 22, 2015 (Exhibit F at
    O003689-O003691). This document contains no facts concerning Defendants’ investigation.

       The above demonstrates that Defendants are not in compliance with the Court’s December

12, 2019 Order (Dkt. 42) with respect to documents relating to Defendants’ investigation into

complaints of sexual harassment made against Richard Koelbl and John Koelbl. Factually, notes

were taken.     If these notes no longer exist, Plaintiff is entitled to sworn statements from

Defendants and their attorneys, Hodgson Russ, LLP, setting forth the chain of custody and

circumstances surrounding the destruction of such notes. This is necessary so that there is no

misunderstanding relative to investigation-related documents, such as what happened to them—

were they destroyed, were they given to someone, etc. Once this has been established, Plaintiff

will seek the appropriate relief for spoliation/destruction of evidence.

       2.      The Second Amendment to Defendants’ Responses to Plaintiff’s First Request for
               Production of Documents does not resolve many outstanding requests.

       The Court’s December 12, 2019 Order stated that the Court accepted the statements

contained in the Neubauer Affidavit “save the Hodgson Russ materials,” (Dkt. 42 at 15), which

Plaintiff has discussed above. The Neubauer Affidavit, however, addressed only Request Nos.:

18, 22, 23, 24, 25, 33, 43, 48, 49, 50, 53, 54, and 55-89. It did not address or make any reference

to Request Nos. 5, 7, 9-10, 14-17, 26-32, 34-35, 37-42, 44-46, or 51-52, which, therefore, remain

unresolved. Additionally, following the Court’s Order, Defendants have not produced any

additional documents relative to these requests or a party affidavit averring that Defendants have

no or no further responsive documents. Plaintiff’s Motion to Compel (Dkt. 29) thoroughly

addressed Plaintiff’s entitlement to production of such documents, and Defendants must

supplement their responses in order to comply with the Court’s December 12, 2019 Order.




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       3.      Defendants’ Amended Responses to Plaintiff’s First Set of Interrogatories are not
               in compliance with the Court’s Order.

       The Court conducted an analysis of Plaintiff’s First Set of Interrogatories Directed to

Defendants in terms of both number of interrogatories and substance. See Dkt. 42 at 11-2.

Following the Court’s December 12, 2019 Order, however, Defendants did not provide adequate

responses, as discussed below.

       Interrogatory No. 1. The Court identified that Interrogatory No. 1 “seeks information

about plaintiff’s employment with defendant Bank” and constitutes a single question. Dkt. 42 at

12. Defendants’ response to Interrogatory No. 1 remains improper. Specifically, in response to

inquiries concerning the positions that Plaintiff has held, applied for, and been considered for,

together with a description of job duties, Defendants reference without specification 395 pages,

many of which are not specifically responsive to the inquiry. This is not proper under FED. R. CIV.

P. 33(d)(1), which provides that a party must “specify[] the records that must be reviewed, in

sufficient detail to enable the interrogating party to locate and identify them as readily as the

responding party could.” Defendants are incorrect in contending that Interrogatory No. 1 seeks

irrelevant information. First, Defendants misstate the scope of this litigation in arguing that such

information “is information unrelated to a claim of sexual harassment” (Exhibit E), as Defendants

fail to acknowledge that the Complaint contains causes of action also sounding in sex

discrimination and retaliation. Moreover, this information is relevant to Plaintiff’s claims, as the

Complaint alleges that Plaintiff did not pursue promotions into certain positions at Alden State

Bank because the positions would have placed her in more direct contact with sexual harassers

Richard Koelbl and John Koelbl. See Dkt. 1 ¶ 40.

       Interrogatory No. 2. The Court identified that Interrogatory No. 2 seeks information about

Plaintiff’s supervisors and constitutes a single question. Dkt. 42 at 12. Defendants’ response to

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Interrogatory No. 2 remains improper. Specifically, in response to inquiries concerning Plaintiff’s

employee evaluations and whether any complaints existed concerning Plaintiff’s job performance,

Defendants reference without specification 189 pages, many of which are not specifically

responsive to the inquiry. This is not proper under FED. R. CIV. P. 33(d)(1), which provides that a

party must “specify[] the records that must be reviewed, in sufficient detail to enable the

interrogating party to locate and identify them as readily as the responding party could.”

       Interrogatory No. 3.      The Court identified that Interrogatory No. 3 “ask[s] about

defendant’s discrimination complaints, with subparts as to the details of each complaint” and

constitutes a single question. Dkt. 42 at 12. Defendants’ response to Interrogatory No. 3 remains

improper. First, Defendants object to the scope of Interrogatory No. 3 despite being ordered by

the Court to respond to it. Second, Defendants’ response fails to reference known complaints

made by Carolyn Sue Aldinger, Kaitlyn Chadbourne, Jaimie Hey, and Danielle Wagner. The

documents that Defendants reference in response to this interrogatory are, therefore, also

insufficient, as such documents make no reference to these employees’ known complaints.

       Interrogatory No. 4. The Court interpreted Interrogatory No. 4 as posing three distinct

inquiries: identifying information; descriptions of employment/disciplinary history; and

compensation. See Dkt. 42 at 12. Despite this, Defendants have not answered any one of these

three inquiries and have, instead, simply referenced personnel documents pertaining to Steven

Woodard, John Koelbl, Hilde Neubauer, Carolyn Sue Aldinger, Ashley Osucha, Richard Koelbl,

Jamie Hey, Kaitlyn Chadbourne, and Julie Osucha, totaling 4,333 pages. These documents are not

responsive to the questions posed, and Defendants’ reference to over 4,000 pages of documents is

not proper under FED. R. CIV. P. 33(d)(1), which provides that a party must “specify[] the records

that must be reviewed, in sufficient detail to enable the interrogating party to locate and identify

them as readily as the responding party could.”
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        Interrogatory No. 5. The Court determined that Interrogatory No. 5 constitutes a single

question. Dkt. 42 at 13. Defendants’ response to Interrogatory No. 5 remains improper, as

Defendants fail to identify who formulated, implemented, and evaluated the plans and policies

identified in Defendant’s response. In Defendants’ February 12, 2020 letter, opposing counsel

states with respect to this issue:

                The policies and procedures were prepared by bank management.
                All policies with human resource issues are reviewed by Hodgson
                Russ (who will recommend changes and additions that are
                implemented by bank management) prior to being approved by the
                Board of Directors. All policies are approved by the Board of
                Directors on an annual basis. This includes the employee handbook.

Exhibit E. Opposing counsel’s response to this interrogatory is improper, as she attempts to serve

as a fact witness relative to the formulation of Defendants’ policies. Under FED. R. CIV. P. 33(b)(1)

, the party must respond to the interrogatory under oath, and the attorney’s signature relates only

to the objections. Thus, Defendants have not responded to this interrogatory under the Rules.

        Interrogatory No. 6. The Court identified that Interrogatory No. 6 “asks about plaintiff’s

pay raise decisions, with subparts identifying those involved in the process, documents created or

used to make those decisions, and the date decisions were made” and constitutes a single question.

Dkt. 42 at 13. Defendants’ response to Interrogatory No. 6 remains improper. Rather than

responding to the questions posed, Defendants simply referenced 395 pages of unspecified

documents. This is not proper under FED. R. CIV. P. 33(d)(1), which provides that a party must

“specify[] the records that must be reviewed, in sufficient detail to enable the interrogating party

to locate and identify them as readily as the responding party could.”

        Interrogatory No. 7. The Court identified that Interrogatory No. 7 “asks for directory

information for witnesses, with subparts identifying the classes of witnesses plaintiff wants

identified” and constitutes a single question. Dkt. 42 at 13. Defendants’ response to Interrogatory

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No. 7 remains improper. Defendants failed to identify all witnesses, and Defendants are aware, at

the very least, that Emina Poricanin, Jaimie Hey, and Elizabeth McPhail are potential fact

witnesses in this matter. With respect to the attorney witnesses—Emina Poricanin and Elizabeth

McPhail—identification of these witnesses is proper in light of the Court’s determination that

Defendants have waived both attorney-client and work product privileges relative to their

investigation in employee’s complaints of sexual harassment made against Richard Koelbl and

John Koelbl. See Dkt. 42 at 14-15. Additionally, Defendants’ response is, admittedly, incomplete,

as Defendants have identified only “those witnesses they intend to call at trial.” Exhibit E. This

interrogatory, however, asked Defendants to identify “each and every witness” known to

Defendants so that Plaintiff could identify the scope of possible witnesses and those who may have

discoverable information.

       Interrogatory No. 10. The Court determined that Interrogatory No. 10 constitutes a single

question. Dkt. 42 at 13. Defendants’ response indicates that Defendants had/have no complaints

concerning Plaintiff’s job performance. In Plaintiff’s good faith letter, she asked that Defendants

confirm this. In response, however, opposing counsel, again serving as an improper fact witness,

stated the following:

               It was the responsibility of Carolyn Sue Aldinger to maintain said
               records during the course of her employment and it is the
               understanding that Ms. Aldinger failed to keep records and this
               failure was discovered when defendants searched its personnel files
               to comply with plaintiffs interrogatories. As such, defendants will
               not and cannot affirmatively state that defendants did not ever have
               any complaints concerning plaintiff’s job performance.

Exhibit E. First, there is no basis for this position, and Defendants fail to identify even one

documents that they cannot produce as the result of Carolyn Sue Aldinger’s alleged failure to

maintain such records. Second, opposing counsel, in response to this interrogatory, is serving as



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a fact witness relative to Defendants’ personnel documents, rendering the response improper under

FED. R. CIV. P. 33(b)(1).

       Interrogatory No. 11. The Court determined that Interrogatory No. 11 constitutes a single

question. Dkt. 42 at 13. Defendants’ response to Interrogatory No. 11 remains improper. Despite

the Court’s determination that Interrogatory No. 11 posed a single question (Dkt. 42 at 13),

Defendants have objected and refused to respond to the interrogatory based on Defendants’

position that Plaintiff has exceeded the 25 interrogatories allowed under FED. R. CIV. P. 33. This

is patently improper in light of the Court’s Order. Then, in Defendants’ February 12, 2020 letter,

Defendants acknowledge their obligation to respond, stating:

               The defendants will supplement the response to Interrogatory
               Number 11 to address all defenses. The response will be submitted
               under separate cover shortly and in sufficient time to allow plaintiff
               to review prior to depositions, which we maintain should be
               scheduled at this time.

As of the date of this Motion, however, Defendants have not submitted the supplementary response

referenced. In light of the Court’s expedited Third Amended Scheduling Order (Dkt. 42 at 16),

which requires discovery to conclude on March 30, 2020, Defendants’ delay in responding to this

interrogatory has already deprived Plaintiff of the opportunity to meaningfully review the bases

for Defendants’ 21 Affirmative Defenses prior to depositions. Thus and as addressed in the Court’s

December 12, 2019 Order, Defendants must respond immediately to this interrogatory.

       4.      Based on Defendants’ non-compliance with the Court’s December 12, 2020 Order,
               Plaintiff is entitled to recover from Defendants attorneys’ fees associated with
               bringing the instant motion.

       Based on the above, Plaintiff has demonstrated that Defendants have not complied with

and, despite Plaintiff’s best efforts, refuse to comply with the Court’s Order relative to Plaintiff’s

Motion to Compel. Although Rule 37(a)(5)(A) provided for payment of expenses with Plaintiff’s

initial Motion to Compel, Plaintiff did not actively pursue this relief. Now, however, Rule
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37(b)(2)(C) further provides that “[i]f a party . . . fails to obey an order to provide or permit

discovery . . . the court must order the disobedient party . . . to pay the reasonable expenses,

including attorney’s fees, caused by the failure, unless the failure was substantially justified or

other circumstances make an award of expenses unjust.” Thus, while an award of attorneys’ fees

is discretionary in connection with successfully bringing a motion to compel (see Rule

37(a)(5)(A)), an award of attorneys’ fees is mandatory where, like here, a party fails to obey a prior

court order relative to discovery (see Rule 37(b)(2)(C)). See Kandey Co., Inc. v. Barbera, No.

11CV478A, 2012 WL 3838179, *2 (W.D.N.Y. Sept. 4, 2012). Thus, Plaintiff seeks recovery of

fees associated with the instant motion pursuant to Rule 37(b)(2)(C). Should the Court grant

Plaintiff’s Motion to Compel, Plaintiff’s fee application to the Court would seek fees in connection

with the motion, as calculated using the lodestar method. See Kandey Co., Inc., 2012 WL 3838179

at *2.

                                          CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Court grant an Order

compelling Defendants to comply with the Court’s December 12, 2019 Order and granting an

award of fees pursuant to FED. R. CIV. P. 37(b)(2)(C), together with such other and further relief

as the Court deems just and proper.

DATED:          February 26, 2020
                Buffalo, New York


                                                              s/Josephine A. Greco
                                                              Josephine A. Greco, Esq.
                                                              Earl K. Cantwell, III, Esq.
                                                              Greco Trapp, PLLC
                                                              Attorneys for Plaintiff
                                                              1700 Rand Building
                                                              14 Lafayette Square
                                                              Buffalo, New York 14203
                                                              Tel: (716) 856-5800
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                                           E-mail: jgreco@grecolawyers.com




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